IN THE UNITED STATES DISTRICT COURT                          
            FOR THE MIDDLE DISTRICT OF ALABAMA                           
                     NORTHERN DIVISION                                   
DAVID EUGENE CLARK,            )                                         
Reg. No. 31839-001,            )                                         
                               )                                         
          Petitioner,          )                                         
                               )                                         
     v.                        )    CASE NO. 2:19-CV-537-WKW             
                               )              [WO]                       
WALTER WOODS,                  )                                         
                               )                                         
          Respondent.          )                                         

                            ORDER                                        
    On August 5, 2019, the Magistrate Judge filed a Recommendation to which 
no timely objections have been filed.  (Doc. # 2.)  Upon an independent review of 
the record and the Recommendation, it is ORDERED that the Recommendation is 
ADOPTED and that this action is DISMISSED without prejudice.  Final judgment 
will be entered separately.                                               
    A certificate of appealability will not be issued.  For a petitioner to obtain a 
certificate of appealability, he must make “a substantial showing of the denial of a 
constitutional  right.”    28  U.S.C.  §  2253(c)(2).    This  showing  requires  that 
“reasonable jurists could debate whether (or, for that matter, agree that) the petition 
should have been resolved in a different manner or that the issues presented were 
adequate to deserve encouragement to proceed further.”  Slack v. McDaniel, 529 
U.S. 473, 484 (2000) (citation and internal quotation marks omitted).  And, where a 
petition is denied on procedural grounds, he “must show not only that one or more 
of the claims he has raised presents a substantial constitutional issue, but also that 

there is a substantial issue about the correctness of the procedural ground on which 
the petition was denied.”  Gordon v. Sec’y, Dep’t of Corrs., 479 F.3d 1299, 1300 
(11th Cir. 2007) (citations omitted).  “A ‘substantial question’ about the procedural 

ruling means that the correctness of it under the law as it now stands is debatable 
among jurists of reason.”  Id.                                            
    Because reasonable jurists would not find the denial of Petitioner’s § 2255 
motion debatable, a certificate of appealability is DENIED.               

    DONE this 4th day of September, 2019.                                
                                       /s/ W. Keith Watkins              
                                UNITED STATES DISTRICT JUDGE